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ADA|V| EW|NG, et al.,
P|aintiffs, Case No.: 05-2323 D V

VS.
UN|TED AUTO GROUP, |NC.,

Defendant.

 

ORDER OF D|SM|SSAL

 

lt appears to the court that Defendants entered a Notice of Nonsuit on this matter

on May 17, 2005.

|T lS THEREFORE ORDERED that the above cause be dismissed without prejudice

based upon the Notice of Nonsuit.

lT ls so oRDERED this Z/J" day o%_v 2005.

B N|CE B. ONALD
U lTED STATES D|STR|CT JUDGE

    

 

  
  

This document entered on the dock

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Wiih F£u|a 58 and/or 79(a) FRCP on

 

Notice of Distribution

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Honorable Bernice Donald
US DISTRICT COURT

